On November 7, 1989, appellee, David E. Dewey, pleaded guilty to two counts of rape, in violation of R.C.2907.02(A)(2). He was subsequently sentenced by the Ashtabula County Court of Common Pleas to serve an indefinite term of incarceration of ten to twenty-five years on each count, to be served concurrently. Having been found guilty of a sexually oriented offense, appellee became subject to a sexual predator hearing under Ohio's version of Megan's Law, newly amended R.C. Chapter 2950.
By judgment entry filed February 18, 1998, the trial court, pursuant to appellee's motion to dismiss, determined that Ohio's version of Megan's Law was unconstitutional as applied to appellee. Appellant appealed, and, pursuant to this court's decision in State v. Williams (Jan. 29, 1999), Lake App. No. 97-L-191, unreported, the trial court's judgment dismissing the sexual predator proceedings is hereby affirmed on alternative grounds.
                                  -------------------------- JUDGE ROBERT A. NADER
FORD, P. J., O'NEILL, J., concur.
HON. DONALD R. FORD, P.J., HON. ROBERT A. NADER, J., HON. WILLIAM M. O'NEILL, J., JUDGES.